Case 14-75160-sms   Doc 21   Filed 03/03/15 Entered 03/04/15 17:02:19   Desc Main
                             Document     Page 1 of 6
Case 14-75160-sms   Doc 21   Filed 03/03/15 Entered 03/04/15 17:02:19   Desc Main
                             Document     Page 2 of 6
Case 14-75160-sms   Doc 21   Filed 03/03/15 Entered 03/04/15 17:02:19   Desc Main
                             Document     Page 3 of 6
Case 14-75160-sms   Doc 21   Filed 03/03/15 Entered 03/04/15 17:02:19   Desc Main
                             Document     Page 4 of 6
Case 14-75160-sms   Doc 21   Filed 03/03/15 Entered 03/04/15 17:02:19   Desc Main
                             Document     Page 5 of 6
Case 14-75160-sms   Doc 21   Filed 03/03/15 Entered 03/04/15 17:02:19   Desc Main
                             Document     Page 6 of 6
